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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,
         Plaintiff,
     v.                                      Civ. No. 18-145 JMS RT
 SANDWICH ISLES COMMUNI-
 CATIONS, INC., et al.,
         Defendants.


     THE UNITED STATES OF AMERICA’S UNOPPOSED MOTION
     FOR ORDER APPROVING EXECUTION SALE PROCEDURES

      Plaintiff the United States of America respectfully moves this Court (the

“Motion”) for entry of an Order Approving Execution Sale Procedures. The

Motion is supported by the Declaration of Counsel attached hereto.

      The Motion is not opposed by Defendant Sandwich Isles

Communications, Inc.

                            [Signature Page Follows]


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Date: April 19, 2024               Respectfully submitted,

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                                   Acting under Authority Conferred by 28
                                   U.S.C. § 515

                                   /s/ Shane Huang
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